Case 2:04-cr-20386-SH|\/| Document 57 Filed 08/25/05 Page 1 of 2 Page|D 66

FLE.F.`?") !","1' _ ` lD.C

IN THE UNITED STATES DISTR]CT COURT
FOR THE WESTERN DISTRlCT FOR TEN`NESSEE []5 AUG 21} PM 12: 3 5

WESTERN DIVISION
' j.;`_u_i
UNITED STATES oF AMERJCA, ,_ CLE§H. 't;:%`z " ' '1'-`:-1~".'? 623th
" will u- ¢i .. seitzle `

 
 

Plaintiff,

vs. Cr. No. 04-203 86 D

CHR.IS PARKS,

Defendant.

S MOTION TO CONTINUE REPORT AND TRIAL

ORDER GRANTING DEFENDANT'
DATE

defendants request to Continue the report date and the September

For good cause shown,
be set for Report on the 2 23 Nl

Rotation Trial Date is hereby GRANTED. Defendant’s matter shall

day of November, 2005 at '_Q‘/p.m. With trial set for the December Rotation. All time is

Trial Act calculations due to the need for additional time to prepare

excluded from the Speedy

lt is so ORDERED, this the 83 day of §§ S¢Zb , 2005.

TED STATES DISTRICT COU

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Thls document entered on the dockets l 1 m ll l '
with Hule 55 andlor 32(b) FHCrP on

  
   

 

UNITD SATES ISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 57 in
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Honorable Bernice Donald
US DISTRICT COURT

